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                   EXHIBIT A
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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA




JOHNSON & JOHNSON HEALTH CARE
SYSTEMS INC.,

                       Plaintiff,

        v.

DOROTHY FINK, in her official capacity, and
U.S. DEPARTMENT OF HEALTH AND HUMAN
                                                                Civil Action No. 1:24-cv-3188
SERVICES,

and

DIANA ESPINOSA, in her official capacity, and
HEALTH RESOURCES AND SERVICES
ADMINISTRATION,

                       Defendants.


  DECLARATION OF LAUREN PALUZZI IN SUPPORT OF PLAINTIFF’S MOTION
   FOR EXPEDITED CONSIDERATION OF SUMMARY JUDGMENT MOTIONS

I, Lauren Paluzzi, declare as follows:

       1.      I am employed as the Senior Director, Emerging Government Programs Operations

and Strategies for Johnson & Johnson Health Care Systems Inc. (“J&J”). I make this declaration

in support of J&J’s motion for expedited consideration of its motion for summary judgment. If

called to testify, I would testify competently to all of the statements in this Declaration, which are

based on my personal knowledge and beliefs.

       2.      I have been employed by J&J since July 2016. In my current role, I oversee strategy

and operations for J&J’s participation in government programs, including 340B, and am




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responsible for preparing for Inflation Reduction Act (“IRA”) implementation. I have been in this

role since March 2024.

       3.      In 2022, Congress passed the IRA, which established the Medicare Drug Price

Negotiation Program (“Negotiation Program”). See 42 U.S.C. § 1320f. Under the Negotiation

Program, the Secretary of Health and Human Services (“HHS”) must publish annually a list of

“selected drugs” and enter into agreements with their manufacturers to make those selected drugs

available for Medicare Part D beneficiaries at the Maximum Fair Price (“MFP”)—a mandatory

discounted price point established through “negotiations” between the Centers for Medicare and

Medicaid Services (“CMS”) and the manufacturers. See id. The agreements require manufacturers

to sell the selected drugs at the MFP. Id. § 1320f-2.

       4.      Effective January 1, 2026, two of J&J’s medications, STELARA® and

XARELTO®, will qualify as selected drugs.

       5.      CMS has issued guidance setting out procedures for implementing the Negotiation

Program in 2026 and 2027. See CMS, Medicare Drug Price Negotiation Program: Final

Guidance, Implementation of Sections 1191 – 1198 of the Social Security Act for Initial Price

Applicability Year 2027 and Manufacturer Effectuation of the Maximum Fair Price in 2026 and

2027 (Oct. 2, 2024), https://bit.ly/3Y719J0. The IRA refers to each year the program operates as

an “initial price applicability year” or “IPAY,” so the CMS guidance is sometimes referred to as

the “IPAY Guidance.”

       6.      Under the IPAY Guidance, manufacturers can either charge dispensing entities the

MFP for each purchase of a selected drug upfront or can provide a refund after the purchase for

the difference between the entity’s acquisition cost for the drug and the MFP. See IPAY Guidance

§ 40.4. CMS calls these reimbursement payments “MFP refunds.” See id.




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        7.    To help facilitate payment of MFP refunds, CMS is developing a system that will

send claims data to manufacturers for each MFP-eligible drug dispensed to a Medicare Part D

beneficiary (“MFP Claim Data”). See IPAY Guidance § 40.4.2. Under the IPAY Guidance,

manufacturers must transmit the MFP refund to the dispensing entity within 14 calendar days of

the manufacturer’s receipt of MFP Claim Data. See id.

        8.    Because a unit of a drug is not eligible for the MFP until it is dispensed to a

Medicare Part D beneficiary, neither J&J nor dispensing entities can know at the time an entity

purchases the unit whether it will be entitled to the MFP discount. For this reason, J&J plans to

pay MFP refunds rather than provide the MFP through an upfront discount.

        9.    Separately, J&J participates in the federal 340B prescription drug pricing program

(“340B Program”). Under the 340B Program, a manufacturer must enter into an agreement with

the HHS Secretary providing that, in exchange for the manufacturer’s right to participate in

Medicare and Medicaid, the manufacturer must offer its outpatient drugs to certain healthcare

providers, called “covered entities,” at sharply reduced prices known as “ceiling prices.” See 42

U.S.C. § 256b(a)(1).

        10.   Among other restrictions, the 340B Program prohibits covered entities from

obtaining “duplicate discounts,” which occur when a covered entity receives 340B pricing on a

drug unit for which the manufacturer also pays a rebate under the Medicaid program. See 42

U.S.C. § 256b(a)(5)(A). In other words, for units of medication purchased at the 340B price,

manufacturers are exempt from also paying a rebate to the applicable state Medicaid program for

that unit.

        11.   Somewhat similarly, the IRA protects manufacturers from having to provide both

the MFP and the 340B price on the same unit. See 42 U.S.C. § 1320f-2(d). Instead, manufacturers




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must offer 340B covered entities the lesser of the 340B price or the MFP for each unit of a selected

drug dispensed to a 340B patient. See id. As a result, for units purchased at the 340B price, where

the 340B price is lower than the MFP, J&J owes the covered entity no MFP refund at all; where

the 340B price is higher than the MFP, J&J owes the covered entity only the difference between

the 340B price and the MFP. See IPAY Guidance § 40.4.5.

       12.     However, if a manufacturer cannot confirm that a unit dispensed to a patient of a

340B entity was 340B-eligible within the 14-day MFP payment window, the IPAY Guidance

requires manufacturers to issue to the covered entity the full MFP refund, which generally

represents a selected drug’s list price minus the MFP. See id. at 56; id. § 40.4.5. If a manufacturer

later learns that it paid an MFP refund on a unit purchased at the 340B price, the IPAY Guidance

contemplates that manufacturers may claim credits against future MFP refunds to a covered entity

through a “credit/debit ledger system” that CMS is developing. See id. at 56; id. §§ 40.4.3.2,

40.4.4.5.

       13.     The result of CMS’s guidance is that for units that 340B covered entities purchase

at a 340B-reduced price and then dispense to Medicare Part D beneficiaries who are patients of

the 340B entity, J&J must pay the covered entity the full amount of the MFP refund—in essence,

a duplicate discount—unless J&J can confirm the unit’s 340B eligibility within the 14-day

window. In theory, J&J may later attempt to recoup these dollars from the covered entity if and

when it discovers that the unit was 340B eligible, but the covered entity holds J&J’s funds in the

interim.

       14.     As a result, identifying the appropriate amount of an MFP refund (if any) and

avoiding paying duplicate discounts requires J&J to understand—quickly and with precision—

whether a particular Medicare Part D claim was dispensed using a 340B-purchased drug.




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          15.   Unfortunately, that information is not currently available to J&J. J&J has no means

of confirming (especially within 14 days) which claims presented for MFP refunds were dispensed

using medications purchased at the 340B price. This fundamental lack of transparency is a

longstanding issue that also prevents J&J from reliably identifying duplicate discounts across the

340B Program and Medicaid.

          16.   Neither CMS nor the Health Resources and Services Administration (“HRSA”), the

sub-agency within HHS that administers the 340B Program, requires 340B covered entities to

identify to manufacturers which of their dispenses of medications qualify for the 340B price. See

id. at 60; id. § 40.4.2.1. Specifically, despite several commenters requesting that CMS require

covered entities to identify which Medicare prescriptions are filled using 340B-purchased

medications, the IPAY Guidance confirms that “CMS is not mandating that dispensing entities

add a 340B claim indicator to claims at this time” and that neither CMS nor the system it is

developing to process MFP Claim Data “will verify that a claim was or was not billed as a 340B-

eligible drug.” Id. at 54. Instead, CMS has stated in the IPAY Guidance that manufacturers are

responsible for ensuring nonduplication across the MFP and the 340B price. Id. at 55; see id. §

40.4.5.

          17.   The IPAY Guidance also requires that, no later than September 1, 2025, J&J and

other manufacturers of selected drugs must submit to CMS a written “MFP effectuation plan” that

describes, among other things, the details of their processes for “deduplicating” discounts on

selected drugs for 340B-eligible dispenses. See id. § 90.2.1.

          18.   In part to help meet its deduplication responsibilities, J&J plans to begin using

rebates, instead of discounts, to offer the 340B price for sales of its two selected drugs to a category

of covered entities known as disproportionate share hospitals (“DSHs”). Under J&J’s “Rebate




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Model,” DSH covered entities will purchase J&J’s two IRA selected drugs—STELARA® and

XARELTO®—at commercial prices. After dispensing a unit to a 340B-eligible patient, a DSH

will submit standard claims data about the dispense to J&J’s vendor within 45 days. After the

vendor validates that the unit was purchased and dispensed by an eligible covered entity, J&J will

issue a rebate to the covered entity for the difference between the medication’s list price and the

340B price (as adjusted by the MFP refund, if applicable).

       19.     Implementing its Rebate Model is the best and most efficient means for J&J to

deduplicate claims across the 340B price and the MFP, as CMS directs in the IPAY Guidance.

Using the standard claims data covered entities will submit to its vendor, J&J will be able to

identify the exact units that are 340B-eligible. J&J will then match this information to the MFP

Claim Data to ensure the appropriate price for each unit is made available.

       20.     The Rebate Model also enables J&J to avoid proactively paying duplicate discounts

on units eligible for both the MFP refund and the 340B price. Although J&J has an existing policy

requesting that certain covered entities, including DSH entities, submit standard claim data

information to J&J within 45 days of dispensing a unit of a J&J drug, that data is provided

retroactively, after the covered entity has already received the 340B price on a unit. J&J is thus

unable to rely on this data proactively to prevent duplication across the MFP and 340B discounts.

Additionally, despite J&J’s policy, many covered entities have refused to submit claims data, or

have submitted inaccurate or incomplete data.

       21.     J&J also accesses other third-party sources of information, including claims data

that is occasionally made available by commercial payors or state Medicaid programs, to identify

limited instances of 340B-eligible claims. However, this information is sometimes inconsistent




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and often unavailable to J&J until months following a 340B-eligible dispense, meaning that J&J

could not use it to confirm 340B status.

       22.     Thus, even assuming the information available to J&J identifies all or even most

340B-eligible dispenses (which it does not), at best, J&J would still be required to pay both the

340B discount and MFP refund on virtually every unit purchased at the 340B price and dispensed

by a covered entity to a Medicare Part D beneficiary. J&J estimates that, for purchases of

STELARA® and XARELTO® in 2026 alone, the company would be required to pay hundreds of

millions of dollars in improper MFP refunds to covered entities on medications purchased at the

340B price.

       23.     J&J’s only available recourse would be to use the fragmented information it is able

to compile on 340B-eligible purchases to attempt to offset some of this unlawful discount

duplication against future MFP refunds through the credit/debit ledger process CMS has proposed.

       24.     By contrast, the Rebate Model that J&J plans to implement provides a solution to

these issues and best allows J&J to avoid unlawful duplication across the MFP and 340B price and

the massive expenses associated with such duplicate payments.

       25.     In order to have sufficient time to prepare for participation in the Negotiation

Program, J&J must have certainty as to whether it may proceed with the Rebate Model by July 1,

2025. Knowing whether the Rebate Model is permissible by that date would enable J&J to

complete the significant planning, implementation work, and systems testing necessary for the

Rebate Model to interface with the systems needed for MFP functionality by January 1, 2026,

when the program begins operation. That timing also would enable J&J to develop and provide

CMS with its final MFP effectuation plan by the September 1, 2025 deadline.




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       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.



Dated: February 3, 2025
                                                           Lauren Paluzzi




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